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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 07-60238-CR-ZLOCH



  UNITED STATES OF AMERICA,

              Plaintiff,

  vs.                                             O R D E R

  ISHWADE SUBRAN, PATRICK
  AIKEN, WADE PARKER and
  ANTHONY FOSTER,

              Defendants.
                                     /

        THIS MATTER is before the Court sua sponte.              Good cause

  appearing, it is hereby ORDERED that the above-styled cause be and

  the same is hereby transferred to the Honorable James I. Cohn for

  trial only. The undersigned retains jurisdiction of this cause for

  any sentencings that may be necessary.           Accordingly, after due

  consideration it is further

        ORDERED AND ADJUDGED as follows:

        1.    Parties should take notice that trial is set for Monday,

  May 12, 2008 at 9:30 a.m. in the Honorable James I. Cohn’s

  Courtroom at the United States District Courthouse, 299 East

  Broward Blvd., Fort Lauderdale, Florida 33301.            The Parties are

  advised that they are on a trailing calendar even though the matter

  has been specially set and they are to communicate directly with
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  Judge Cohn’s Chambers as to the exact date and time jury selection

  will commence.     Judge Cohn’s Chambers’s telephone number is (954)

  769-5490.

        2.    Parties should come ready to proceed for trial.

        3.    Parties shall provide Judge Cohn three (3) copies of

  their exhibit list and their witness list at the commencement of

  trial.

        4.    Parties also shall provide Judge Cohn a copy of their

  proposed jury instructions and their proposed verdict form in print

  and electronic format at the commencement of trial.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this        30th          day of April, 2008.




                                      WILLIAM J. ZLOCH
                                      United States District Judge

  Copies furnished:

  The Honorable James I. Cohn

  Bruce O. Brown, Esq., AUSA
  For Plaintiff

  Richard Della-Fera, Esq.
  Marshall Dore Louis, Esq.
  Ivan Mercado, Esq.
  Steven Kassner, Esq.
  For Defendants


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